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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


GREGORY D. PANDOFF and                                        CIVIL ACTION: 2:19-cv-10238
ABEGAIL S. BOURGOYNE
                                                              SECTION:
VERSUS
                                                              MAGISTRATE:
CJI, LLC, UNITED SPECIALTY
INSURANCE COMPANY, and
JUAN FR DELEON


                                 COMPLAINT
______________________________________________________________________________

       NOW INTO COURT, through undersigned counsel, come Plaintiffs, GREGORY D.

PANDOFF and ABEGAIL S. BOURGOYNE, both persons of full age of majority and residents

of Livingston Parish, State of Louisiana, and for their Complaint, respectfully aver as follows:

                                                 1.

       This Court has jurisdiction in this matter pursuant to 28 U.S.C. 1332, because there is a

diversity of citizenship and the amount in controversy exceeds $75,000.00. The plaintiffs are

residents of the State of Louisiana, and the defendants are citizens of and/or incorporated in and/or

have their principal places of business in a state other than the State of Louisiana.

                                                 2.

       Venue is appropriate in the United States District Court for the Eastern District of

Louisiana, pursuant to 28 U.S.C. 1391(b), because the events giving rise to this action occurred in

this judicial district and Defendants reside outside the State of Louisiana.
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                                                 3.

Made defendants herein are:

       1.       CJI, LLC, a foreign Limited Liability Company organized under the laws and
               statutes of the State of Texas, with its principal place of business in Pharr, Texas;

       2.      UNITED SPECIALTY INSURANCE COMPANY, a foreign insurance
               corporation authorized to do and doing business in the State of Louisiana;

       3.      JUAN FR DELEON, a person of full age of majority and resident of the State of
               Texas.

                                                 4.

       Defendants, CJI, LLC, UNITED SPECIALTY INSURANCE COMPANY, and JUAN FR

DELEON, are liable jointly severally and in solido unto plaintiffs, GREGORY D. PANDOFF and

ABEGAIL S. BOURGOYNE, in a reasonable compensatory sum, plus legal interest, and all costs

of these proceedings for the following reasons to wit:

                                                 5.

       Plaintiffs show that on or about August 2, 2018, at approximately 1:50 p.m. Plaintiff,

GREGORY D. PANDOFF, was operating a 2018 Harley Davidson motorcycle, traveling

westbound on in the left lane on Interstate 12 in the Parish of St. Tammany, State of Louisiana.

Plaintiff, ABEGAIL S. BOURGOYNE, was a guest passenger on the motorcycle.

                                                 6.

       At the same time and place, Defendant, JUAN FR DELEON, was operating a 2005

Freightliner Tractor Trailer westbound in the right lane on Interstate 12 when he attempted to cross

over and change lanes from the right lane into the left lane which was occupied by the Plaintiffs’

motorcycle, forcing it off of the roadway causing a violent crash resulting in the severe and

disabling injuries complained of herein.

                                                 7.

       The Plaintiffs were in no manner negligent. The sole and proximate cause of the above
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described accident was the negligence of JUAN FR DELEON, acting in the course and scope of

his employment with CJI, LLC who is liable for the acts of its employees pursuant to the theory

of respondeat superior, in the following non-exclusive respects:

               a. Failing to follow traffic rules and regulations;

               b. Failure to properly merge his vehicle;

               c. Failure to maintain a proper look-out;

               d. Operating the vehicle in a careless and reckless manner;

               e. Failure to properly maintain the vehicle;

               f. Failure to properly maintain control of his vehicle;

               g. Failure to be attentive; and

               h. Other negligent and intentional acts which may be proven at trial in this matter.

                                                  8.

       Solely by reason of the negligence of the Defendants, and other acts and inactions described

herein, plaintiff, GREGORY D. PANDOFF, sustained severe and disabling injuries including but

not limited to the following: ruptured/herniated disks and nerve damage, as well as injuries to his

bones, muscles and joints, organs and tissues among other component parts of his head, back, ribs,

shoulders, legs, feet, and hands. As a result thereof, plaintiff has in the past and will in the future:

undergo significant and serious surgeries, require medicines, medical care, medical treatment, have

to expend moneys and incur obligations for treatment and care, suffer agonizing aches, pains, and

mental anguish, and be disabled from performing his usual duties, occupations and avocations.

                                                  9.

       Plaintiff, GREGORY D. PANDOFF, seeks just and reasonable damages for the following:

               a. Past, present and future physical pain and suffering;

               b. Past, present and future mental anguish and emotional pain;
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               c. Past, present and future medical expenses;

               d. Loss of the enjoyment of life;

               e. Past, present and future wage lost wages; and

               f. Other injuries and damages to be proven at the trial of this matter.

                                                   10.

       Solely by reason of the negligence of the Defendants, and other acts and inactions described

herein, plaintiff, ABEGAIL S. BOURGOYNE, sustained severe and disabling injuries including

but not limited to the following: ruptured/herniated disks and nerve damage, as well as injuries to

his bones, muscles and joints, organs and tissues among other component parts of his head, back,

ribs, shoulders, legs, feet, and hands. As a result thereof, plaintiff has in the past and will in the

future: undergo significant and serious surgeries, require medicines, medical care, medical

treatment, have to expend moneys and incur obligations for treatment and care, suffer agonizing

aches, pains, and mental anguish, and be disabled from performing his usual duties, occupations

and avocations.

                                                   11.

       Plaintiff, ABEGAIL S. BOURGOYNE, seeks just and reasonable damages for the

following:

               a. Past, present and future physical pain and suffering;

               b. Past, present and future mental anguish and emotional pain;

               c. Past, present and future medical expenses;

               d. Loss of the enjoyment of life;

               e. Past, present and future wage lost wages; and

               f. Other injuries and damages to be proven at the trial of this matter.
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                                                12.

       Petitioners allege on information and belief that at all times material to this proceeding

there was in full force and effect a policy of liability insurance issued by Defendant, UNITED

SPECIALTY INSURANCE COMPANY. (hereinafter “UNITED SPECIALTY”), insuring

Defendants, CJI, LLC and JUAN FR DELEON, at the time of the accident made the subject of

this proceeding, which policy serves to indemnify Defendant, CJI, LLC and JUAN FR DELEON,

for the negligence and/or fault described herein above, and UNITED SPECIALTY is liable in

solido with CJI, LLC and JUAN FR DELEON for all damages due Plaintiffs. United Specialty is

made defendant hereto pursuant to the Louisiana Direct Action Statue.

       WHEREFORE, plaintiffs, GREGORY D. PANDOFF and ABEGAIL S. BOURGOYNE,

pray that this Complaint be deemed good and sufficient, and that following the expiration of all

legal delays and after due proceedings had, there be judgment herein in favor of Plaintiffs,

GREGORY D. PANDOFF and ABEGAIL S. BOURGOYNE, and against Defendants, JUAN FR

DELEON and UNITED SPECIALTY INSURANCE COMPANY, in solido, for general and

special damages in a principal amount that is reasonable in the premises, together with legal

interest on the principal amount awarded from the date of judicial demand until paid and all costs

of this proceeding, expert witness fees; and for such other relief as the law and equity may provide.



                                              Respectfully Submitted:

                                              BIANCA LAW FIRM

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